      Case 2:06-cr-00124-LRS   ECF No. 425   filed 03/31/10   PageID.2497 Page 1 of 1



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 4
                        UNITED STATES DISTRICT COURT
 5                     EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                  )
                                              )
 8              Plaintiff,                    )       CR-06-0124-LRS
                                              )
 9         vs.                                )       Order Of Dismissal
                                              )       With Prejudice
10 ABEL MENDOZA,                              )
                                              )
11             Defendant.                     )
                                              )
12
13         Leave of court is granted for the filing of the foregoing dismissal with
14 prejudice. The court makes no judgment as to merit or wisdom of this dismissal.
15       DATED this 31st day of March, 2010.
16
17                                              s/Lonny R. Suko
18                                       ____________________________
                                                 Lonny R. Suko
19                                       Chief United States District Judge

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     Order Of Dismissal With Prejudice - 1
